Case 2:03-cV-02194-.]DB Document 62 Filed 04/26/05 Page 1 of 2 Page|D 49

UNITED STATES DlSTRICT COURT
wE.sTERN Dls'rRlcT oF TENNEssi-:E

MEMF'H|S (901) 495 -1200

RoBi-:RT R. Di TRoLlo
CLERK OF COURT FAX (901) 495 -1250
WESTERN DIV]S[ON JAcKsoN 1901) 421-9200
FAX 1901) 421 - 9210

Aprii 26, 2005

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RE: Al\/[ERICAN BUSINESS FORMS, INC. Vs. THE RESTAURANT COMPANY
03*2194-B

Dear Counsel:

It appears in the above referenced cause that the parties are unable to agree on the

taxation of costs.

Pursuant to Rule 54.1 of the Local Rules for the Western District of Tennessee, the Clerk
is required to assess costs, after notice and hearing Accordingly, the Clerk will tax costs on
Fridav. 5/13/2005 @ 11:30 a.m., in the Clerk’s office located in Room 242, C]ifford Davis
Federal Building, 167r North Main Street, Memphis, Tennessee. You may appear at that time and
make any argument you believe relevant, but you are not required to attend. The Clerk will
accept the citation of any law the parties think appropriate, but such submissions must be
received no later than one week prior to the scheduled hearing

Sincerely,
Robert Di Trolio, Clerk

Deputy Clerl<

fehg
c; Docket Clerk

242 FEDERAL BU|LD|NG 262 FEDERAL EU|LD|NG
111 S.H|GH|_AND

167 N. MAFN STREET
MEMPH|S, TENNESSEE 38103 JACKSON. TENNESSEE 3-1-'
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Notice of Distribution

This notice confirms a copy of the document docketed as number 62 in
case 2:03-CV-02194 Was distributed by faX, mail, or direct printing on
Apri126, 2005 to the parties listed.

 

 

Robert Di Trolio

CLERK, U.S. DISTRICT COURT
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Honorable .1. Breen
US DISTRICT COURT

